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                      IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF PENNSYLVANIA


 KASHMAN HARRIS                           :       CIVIL ACTION
          Plaintiff,                      :
                                          :
                   v.                     :
                                          :
 SKIPPACK EMERGENCY                       :       NO. 21CV1636
 MEDICAL SERVICES, INC.                   :
            Defendant.
                                          ORDER

        AND NOW, TO WIT: This 30th day of November 2021 it having been reported that the
issues between the parties in the above action have been settled and upon Order of the Court
pursuant to the provisions of Rule 41.1(b) of the Local Rules of Civil Procedure of this Court
(effective July 1, 1995), it is

        ORDERED that the above action is DISMISSED with prejudice, without costs, pursuant
to the agreement of counsel. Judge Rice will retain jurisdiction to enforce the terms of the
settlement.


                                              KATE BARKMAN
                                              Clerk of Court


                                    BY:       /s/ Donna Marie Croce
                                              Donna Marie Croce
                                              Deputy Clerk to the
                                              Honorable Timothy R. Rice
                                              U.S. Magistrate Judge
